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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
                                              :              CIVIL ACTION
CARLA CAIN,                                   :
                     Plaintiff,               :
                                              :
      v.                                      :              No.   22-0360
                                              :
CINDY BASS.                                   :
                     Defendants.              :


                              SCHEDULING ORDER

      AND NOW, this 14th day of December 2022, upon consideration of the

docket and the full evidentiary hearing on the Motion held on September 13, 2022

(ECF No. 33), it is hereby ORDERED as follows:

      1. All supplemental fact discovery, to the extent necessary, shall be

            completed by February 1, 2023.

      2. Any motions for summary judgment shall be filed on or before March 1,

            2023 at 12:00 p.m. Response(s) to any such motion shall be filed within

            twenty-one (21) days of service of the motion.

      3. There will be no continuances granted on this schedule.

      The Court will issue a separate Scheduling Order as to the trial date and

trial-related deadlines following the completion of fact discovery and resolution of

any motions for summary judgment.

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                                       BY THE COURT:

                                       /s/ Chad F. Kenney

                                       CHAD F. KENNEY, JUDGE




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